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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KELLY PRICE,

                        Plaintiff,
                                                         15 Civ. 5871 (KPF)
                 -v.-
                                                              ORDER
 THE CITY OF NEW YORK, et al.,

                        Defendants.

KATHERINE POLK FAILLA, District Judge:

      Plaintiff filed the operative Fourth Amended Complaint on May 26, 2017.

(Dkt. #69). On June 2, 2017, the Court issued a Valentin order, directing the

Metropolitan Transportation Authority (“MTA”) to “ascertain the identities of the

Jane Doe and John Doe Defendants whom Plaintiff seeks to sue here and the

addresses where these Defendants may be served” and to “provide this

information to Plaintiff and the Court within 60 days of the date of this Order.”

(Dkt. #72). The order stated that the “Court will then deem the Complaint

amended to name the John and Jane Doe Defendants.” (Id.). Plaintiff did not

obtain the identities of the Jane Doe and John Doe Defendants directly from

the MTA, but has since discovered the names of such defendants via a FOIL

request and response to a third-party subpoena directed to the MTA. (Dkt.

#141).

      The MTA does not oppose the substitution of names for the John and

Jane Doe Defendants. (Dkt. #142). Accordingly, the Court grants Plaintiff’s

motion to substitute the names Stephen Mears and Alison Schmitt for the
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John Doe and Jane Doe Defendants, respectively, and deeming the Fifth

Amended Complaint (Dkt. #140-1), the operative complaint in this case.

     The Clerk of Court is respectively ORDERED to amend the case caption

in accordance with the Fifth Amended Complaint.

     SO ORDERED.

Dated:       November 18, 2019
             New York, New York


                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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